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IN THE UNITED sTATEs DISTRICT COURT m ' o C_
FoR THE wEsTERN DISTRICT or TENNESSEE F"£° '
WESTERN mv s1 .
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UNITED sTATEs oF AMERICA ) C LE§£EL@ 5 _.;._555553
)
Plaintirf, )
)
vs ) CASE No. 01-20235-Cle
)
JoHN ALLEN LATON )
)
Defendant. )
)
oRDER To sURRENDER

 

The defendant, John Allen Laton, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to FCI Forrest City, P.O. Box
7000, Forrest City, AR 72335 by 2:00 p.m. on Tuesday, September 6, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign
one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-
addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she will
report as ordered to the facility named above.

ENTERED this the ,LB_ day of August, 2005.

No further extension
will be granted

 

ROBER'I` H. CLELAND
UNITED STATES DISTRICT JUDGE

Thi's document entered on the docket sheet in nnrn llance

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ACKNOWLEDGEMENT

 

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:0]-CR-20235 was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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Honorable Robert Cleland
US DISTRICT COURT

